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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Wester District of Tennessee

Liberty Insurance Corporation

 

Plaintiff(s)
v. Civil Action No. 2:19¢v2739 SHL/ dkv

Shirley Todd Saulsberry and
Loancare, LLC,

 

7 Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Shirley Todd Saulsberry
99 S. Walnut Bend Road

Cordova, TN 38018

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Brian C. Neal and J. Matthew Kroplin

Burr & Forman, LLP
222 2nd Ave. South, Suite 2000

Nashville, TN 37201

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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CLERK OF COURT LON
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Date: October 30, 2019 : i s/ Judy Easley Ly

 

\u Signaiure of Clerk or Deputy Clerk
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Case 2:19-cv-02739-SHL-dkv Document 8 Filed 11/12/19 Page 2of2 PagelD 80
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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) SA tr ) +e, Tal of Sa u { 5 iy try
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was received by me on (date) \\ / & / 2.Cj F .
Lite Oyu Cn

ral I personally served the summons on the individual at (place) 18 oO 7 f)- . Ger Manton 7 p é “
Corduun, TW. 28018 on (date) Jif 7) Pope 3%

1 | left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

© [served the summons on (name of individual) , Who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) > or
I returned the summons unexecuted because ; or
1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.
pate: TAQ Ab tee ff
[ Serve

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Geeriye, hen Fre, Yeoross Servet

a Printed name and title Z

Professional Process Servers, Inc.
5240 Mendenhall Park Place
Memphis, Tennesseg 38115

Additional information regarding attempted service, ete:

 
